Case 6:21-cv-00430-DCJ-CBW Document 11 Filed 06/30/22 Page 1 of 1 PageID #: 32




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


 JANE DOE ET AL                                        CASE NO. 6:21-CV-00430

 VERSUS                                                JUDGE DAVID C. JOSEPH

 EDOUARD D’ESPALUNGUE                                  MAGISTRATE JUDGE CAROL B.
 D’ARROS                                               WHITEHURST

                                    MINUTES OF COURT:
                                      Status Conference
  Date:               June 30, 2022     Presiding: Judge David C. Joseph
  Court Opened:       3:58 PM           Courtroom Deputy: Lisa LaCombe
  Court Adjourned:    4:19 PM           Courtroom:           Zoom Video Conference
  Statistical Time:   21 Minutes


                                      APPEARANCES
  Elwood Clement Stevens, Jr. (Retained)    For   Jane Doe, John Doe, Mary Doe,
                                                  Plaintiffs
  Mildred E Methvin (Retained)              For   Jane Doe, John Doe, Mary Doe,
                                                  Plaintiffs

                                         PROCEEDINGS

 A Status Conference was held June 30, 2022, via Zoom Video.

 Counsel updated the Court on the status of service on the Defendant, per the requirements of the
 Hague Convention.

 After discussion, it was determined that counsel for Plaintiffs will file a Motion for Entry of
 Default and for Default Judgment. Once filed, the parties will coordinate a date with Lisa
 LaCombe to set the hearing date on the Motion for Default Judgment. Once a hearing date has
 been determined, the Court will issue briefing deadlines.

 Plaintiffs’ counsel is also directed to provide all known addresses and email addresses for
 Defendant so that the Clerk may apprise him of orders of the Court and any hearing dates.
